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                                                         several areas of his body," even though he was not
                                                         resisting arrest, and "Chrysler was tripped face first
              2020 WL 3574643
                                                         to the ground ... and was otherwise physically abused
Only the Westlaw citation is currently available.
                                                         by ... defendants." (fd. 1111 12-13.) After an ambulance
 United States District Court, N.D. New York.
                                                         arrived at the scene, both plaintiffs were handcuffed.
        Kyle WILLIAMS et aI., Plaintiffs,                (ld. ~ 14.) Liadka further injured Williams while "out
                         v.                              of the view of the public" by "beat(ing] him up(,]
                                                         causing him to incur broken bones." (ld. ~ 15.) And
  The CITY OF SYRACUSE et aI., Defendants.
                                                         Liadka further injured Chrysler while in the ambulance
               5: 19-cv-995 (GLS/ATB)                    by "sticking a gloved finger in an open wound she
                              I                          sustained when she was intentionally tripped to the
                 Signed 07/01/2020                       ground face first." (Id. ~ 16.)

Attorneys and Law Firms                                  Both plaintiffs were taken to Upstate Hospital, where
                                                         they received their first round of medical treatment and
FOR THE PLAINTIFFS: OF COUNSEL: FRED B.
                                                         were subsequently released from police custody. (Id.
LICHTMACHER, ESQ., The Law Office of Fred
                                                         ~ 18.) Williams had jaw surgery, and also sustaincd
Lichtmacher P.C., 116 West 23rd Street, Suite 500,
                                                         an "eye socket injury for which he had to receive
New York, NY 10011.
                                                         repeated treatment," and Chrysler "required sutures for
FOR THE DEFENDANTS: OF COUNSEL:                          her injuries and ... was otherwise harmed." (ld. ~ 17.)
CHRISTINA F. DEJOSEPH, ESQ., DANIELLE
PIRES, ESQ., SOPHIE WEST, ESQ., City of Syracuse         Williams was charged with resisting arrest, and
Corporation Counsel, 233 East Washington Street,         was acquitted at trial. (Jd. 11 19.) The "officers
Room 300 City Hall, Syracuse, NY 13202.                  created fictions[,] which they provided to the (d]istrict
                                                         [a]ttomey's [o]ffice," and these "fictions" were "used
                                                         against both (p]laintiffs in their prosecutions." (ld. 11
                                                         20.)
  MEMORANDUM·DECISION AND ORDER

Gary L. Sharpe, U.S. District Judge
                                                         B. Procedural History
                                                         Plaintiffs commenced this action on August 12, 2019,
                   I. Introduction                       asserting the following causes of action pursuant

*1   Plaintiffs Kyle Williams and Rachel Chrysler        to     42 U.S.c. § 1983: (I) a Fourth Amendment
commenced this action against defendants City of         excessive force claim; (2) a Fourth Amendment failure
Syracuse, and City of Syracuse police officers Gregory   to intervene claim; (3) a Monell claim against the
                                                         City of Syracuse; (4) a Fourth Amendment malicious
DiPuccio and Officer Liadka pursuant to      42 U.S.c.
                                                         prosecution claim asserted by Williams; and (5) a
§ 1983. (Compl., Dkt. No. \.) Pending is dcfcndants'
                                                         "violation of plaintiffs['] Fourth, Fifth, and Sixth
motion for partial dismissal. (Dkt. No.8.) For the
                                                         Amendment rights and deprivation of his due process
reasons that follow, defendants' motion is granted.
                                                         rights pursuant to the Fourteenth Amendment via
                                                         denial of a fair trial." (Compl.)

                  II. Background                         Defendants seek dismissal of the Monell, malicious
                                                         prosecution, and fair trial claims. (Dkt. No.8.)
A. Facts 1
In September 2016, "[p]laintiffs, despite not having
committed crimes[.] were arrested and subjected to
                                                                        III. Standard of Review
excessive and unnecessary force." (CampI. ~l 11.)
Specifically, "Williams was punched and kicked on
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'The standard for granting a Rule 12( c) motion for         narratives"; that Williams "was ultimately acquitted of
judgment on the pleadings is identical to that of a Rule    the charges related to this incident after the criminal
                                                            trial"; and that "defendants beat [plaintiffs] with no
12(b)(6) motion for failure to state a claim."· Patel
                                                            legal justification, and arrested them to cover up their
v. Contemporary Classics of Beverly Hills, 259 F.3d
                                                            unjustified use offorcc." (Dkt. No. 10 at 13.)
123, 126 (2nd Cir. 2001) (internal citations omitted).
The standard of review under Fed. R. Civ. P. 12(b)(6)
                                                            The elements of a malicious prosecution claim under
is well settled and will not be repeated here. For a full
discussion of the governing standard, the court refers         Section 1983 arc: "( 1) the defendant initiated a
                                                            prosecution against plaintiff, (2) without probable
the parties to its prior decision in ... Ellis v. Cohen &
                                                            cause to believe the proceeding can succeed, (3) the
Siamowitz, LLP, 701 F. Supp. 2d 215, 21S (N.D.N.Y.
                                                            proceeding was begun with malice, and (4) the matter
2010).
                                                            terminated in plaintiff's favor." Rentas v. Ruffin, 816
                                                            F.3d 214, 220 (2d Cir. 2016) (alterations and citation
                                                            omitted). "An arresting officer may be held liable for
                    IV. Discussion                          malicious prosecution if he or she played an active
                                                            role in the prosecution, such as giving advice and
A. Monell Claim
                                                            encouragement or importuning the authorities to act."
 *2 Thc City of Syracusc argues that plaintiffs'
                                                            Barone v. United States, No. 12 Civ. 4103, 2014 WL
counsel previously brought very similar Monell claims
                                                            4467780, at *17 (S.D.N.Y. Sept. 10,2014) (internal
against it, all of which were dismissed, and that
                                                            quotation marks and citation omitted). "In addition, an
plaintiffs' Monell claim in this case suffers from
                                                            officer will be liable for malicious prosecution if he or
the same deficiencies identified in those cases. See
                                                            she creates false infonnation likely to influence ajury's
Moore v. City of Syracuse, No. 5:18-cv-379, Dkt.
                                                            decision and forwards that information to prosecutors,
No. 32 (Mar. 27, 2019); Arrindel-Martin v. City of
                                                            or ... withholds relevant and material information from
Syracuse, 5:18-CY-7S0, 2018 WL 6622193 (Dec. 18,
                                                            the prosecutor." Id. (internal quotation marks and
2018); Tennyson v. City of Syracuse, 5: I 6-cv-929,
                                                            citation omitted).
2017 U.S. Dist. LEXIS 222355 (Nov. 15, 2017).
The court, finding no significant difference in the
                                                            Although Williams recites the general clements of
way in which the current complaint is drafted as
                                                            a malicious prosecution claim, (Compi. ~ 47), he
compared to the complaints drafted by counsel in those
                                                            has failed to meet the basic pleading standard. See
cases, agrees with defendants. Accordingly, for the
same reasons identified in the aforementioned cases,            Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)
plaintiffs' Monell claim is dismissed with leave to         ("Where the well-pleaded facts do not permit the
amend.                                                      court to infer more than the mere possibility
                                                            of misconduct, the complaint has alleged-but it
                                                            has not shown-that the pleader is entitled to
B. Malicious Prosecution Claim                              relief." (internal alterations and quotation marks
Defendants argue that Williams' malicious prosecution       omitted)). And, to the extent Williams claims that
claim fails because he "docs not allege that                defendant officers "created fictions," "falschood[ s],"
[dJefendants played an active role in his prosecution       and made "fraudulent misrepresentations" to the
or encouraged the prosecutor to act"; "docs not             district attomey's office, (Compi. ~~ 20, 48, 50), there
allege that [dJcfcndants withheld relevant and material     are no allegations concerning the form or substance
information from prosecutors"; and his claim "relies        of the information claimed to have been fabricated.
on conclusory ipse dixit allegations of evidence
                                                            See     Myers v. Moore, 326 F.R.D. 50,60 (S.D.N.Y.
fabrication insufficient to withstand a motion to
                                                            2018) ("Plaintiff engages in group pleading, lumping
dismiss." (Dkt. No.8, Attach. 7 at 17.) In response,
                                                            the three defendants together without pleading facts
Williams argues that he "clearly alleged that the
                                                            demonstrating what each did that makes him liable for
individual defendant officers communicated with
                                                            malicious prosecution .... Accordingly, the [a ]mcnded
the [d]istrict [a ]ttomey and provided fabricated
                                                            [c]omplaint docs not sufficiently plead a malicious



                                                                                                                        2
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prosecution claim."); Willis v. Rochester Police Dep'!,           a deprivation of liberty as a result," (Compl. ~~ 20,
No. 15-CV-6284, 2018 WL 4637378, at *6 (W.D.N.Y.                  56), are threadbare and boilerplate, and provide no
Sept. 27, 2018) (dismissing malicious prosecution                 factual context to support a fair trial claim. See Longo,
claim for failure to state a claim where the plaintiff            2016 WL 5376212, at *6 (dismissing a fair trial
only made "passing reference to 'false statements of              claim, noting that allegations that the "defendants
facts' ... but fail[ed] to provide any further, or factual,       fabricated evidence, gave false testimony, and made
context for that allegation"); Longo v. Ortiz, No. 15-            false extrajudicial statements to" the district attorney's
CV-77 I 6, 2016 WL 5376212, at *4 (S.D.N.Y. Sept. 26,             office "fail[cd] to state with the requisite specificity the
2016) ("Plaintiff's allegations as to false or fabricated         evidence that was purportedly fabricated"); Wright v.
infonnation are entirely conclusory and generalized               Orleans County, No. 14-CV-622, 2015 WL 5316410,
and do not contain the specificity required to state a            at *13 (W.D.N.Y. Sept. 10, 2015) ("[T]he failure
claim for malicious prosecution." (citations omitted)),           to specify what constituted the allegedly falsified
Accordingly, defendants' motion to dismiss Williams'              information is fatal to [the p ]Iaintiff's fair trial claim.");
malicious prosecution claim is granted, and the claim             Waddlingtan v. City of New York, No. 10 CV SOlO,
is dismissed with leave to amend.                                 2013 WL 5295247, at *9 (E.D.N.Y. Apr. 23, 2013)
                                                                  (dismissing fair trial claim, and noting that the
                                                                  "[p ]laintiff at no point alleges with spccificity what
C. Fair Trial Claim                                               false infonnation [defendant police officers J created
 *3 Defendants argue that plaintiffs' fair trial claim            or forwarded to the D.A.'s [o]ffice"). Accordingly,
should be dismissed because plaintiffs fail to plausibly          defendants' motion to dismiss plaintiffs' fair trial claim
allege that they were denied the right to a fair trial, and       is granted, and the claim is dismissed with leave to
have not identified with any specificity the allegedly            amend.
false infonnation at issue. (Dkt. No.8, Attach. 7
at 13-15.) In response, plaintiffs argue that they
have "specifically allege[d] th[at] defendants relayed
to prosecutors fabricated narratives about plaintiffs                                    V. Conclusion
resisting arrest, to justify the excessive force to which
                                                                  WHEREFORE, for the foregoing reasons, it is hereby
they were subjected." (Dkt. No. 10 at 11.)

                                                                  ORDERED that defendants' motion for partial
In order to maintain a fair trial claim based on
                                                                  dismissal (Dkt. No.8) is GRANTED; and it is further
fabrication of infomlation, plaintiffs must show that
"an (1) investigating official (2) fabricates information
                                                                  ORDERED that plaintiffs' Monell, malicious
(3) that is likely to influence a jury's verdict, (4)
                                                                  prosecution, and fair trial claims are DISMISSED
forwards that information to prosecutors, and (5)
                                                                  WITHOUT PREJUDICE and WITH LEAVE TO
the plaintiff suffers a deprivation of life, liberty,
                                                                  AMEND; and it is further
or property as a result."      Garnett v. Undercover
Officer C0039, 838 F.3d 265, 279 (2d Cir. 2016)                   ORDERED that plaintiffs may file an amended
(citation omitted). In order to maintain the claim                complaint within thirty (30) days of the date of this
against a police officer, plaintiffs "must prove by a             Order; and it is further
preponderance of the evidence that the officer created
false information, the officer forwarded the false                ORDERED that the City of Syracuse is terminated as
information to prosecutors, and the false information             a defendant; and it is further

was likely to influence a jury's decision."       Id. at 280
                                                                  ORDERED that the Clerk provide a copy of this
(citation omitted).
                                                                  Memorandum-Decision and Order to the parties.

Plaintiffs' allegations that defendant officers "created
fictions" and "fabricated evidence that was likely                IT IS SO ORDERED.
to influence a jury's decision, forwarded that
information to prosecutors, and the [p )laintiffs suffered


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                                           ..••••............



All Citations

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                                                   Footnotes


1     The facts are drawn from plaintiffs' complaint, (Dkt. No.1), and presented in the light most
      favorable to them.


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